






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00273-CR







Lehi Barlow Jeffs aka Lehi Barlow Allred, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF SCHLEICHER COUNTY, 51ST JUDICIAL DISTRICT


NO. 1001, THE HONORABLE BARBARA L. WALTHER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Lehi Barlow Jeffs aka Lehi Barlow Allred pleaded no contest to
an&nbsp;indictment accusing him of bigamy.  See Tex. Penal Code Ann. §&nbsp;25.01 (West 2011).  The
district&nbsp;court adjudicated him guilty and assessed punishment at eight years' imprisonment, in
accordance with a plea bargain agreement.  Appellant brings forward twenty-five points of error. 
The first twenty-one points assert that the trial court erred by denying his pretrial motion to suppress
evidence.  The remaining four points complain about the trial court's denial of his motion to quash
the indictment.

This appeal is a companion to appellant's appeal of his sexual assault conviction in
Jeffs v. State, No. 03-10-00272-CR (Tex. App.--Austin Feb. 24, 2012, no pet. h.).  The issues raised
and the arguments made are identical in both causes.  For the reasons stated in our opinion in cause
number 03-10-00272-CR, we overrule appellant's points of error and affirm the judgment
of&nbsp;conviction.


				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Affirmed

Filed:   February 24, 2012

Do Not Publish


